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 IN THE UNITED STATES DISTRICT COURT
 FOR THE DISTRICT OF NEW JERSEY
  DANIEL D’AMBLY, AARON WOLKIND, STEVE
  HARTLEY, RICHARD SCHWETZ, JOBEL BARBOSA,                        CIVIL ACTION
  MATTHEW REIDINGER, JOHN HUGO, SEAN-                             NO.: 2:20-cv-
  MICHAEL DAVID SCOTT, THOMAS LOUDEN,                             12880-
  ZACHARY REHL, AMANDA REHL, K.R., a minor, by                    JMV-JSA
  and through her father ZACHARY REHL, and her mother
  AMANDA REHL, MARK ANTHONY TUCCI,
                                                                  Hon. John M.
               Plaintiffs,                                        Vazquez, U.S.D.J.
      vs.
                                                                  Oral Argument
  CHRISTIAN EXOO a/k/a ANTIFASH                                   Requested
  GORDON, ST. LAWRENCE UNIVERSITY,
  TRIBUNE PUBLISHING COMPANY, NEW                                 Return Date:
  YORK DAILY NEWS, VIJAYA GADDE;                                  July 6, 2021
  TWITTER, INC., COHEN, WEISS AND
  SIMON, LLP,

                Defendants.


 MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT CHRISTIAN
 EXOO’S MOTION TO DISMISS PURSUANT TO F.R.C.P. Rules 12(b)(2) and
 12(b)(6)


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  Counsel for Defendant Christian Exoo
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                    DECLARATION OF RICHARD TORRES


 RICHARD TORRES, an attorney admitted to practice in the State of New

 Jersey and the United States District Court for the District of New Jersey, hereby

 affirms under penalty of perjury that:

       1.     I am an attorney admitted to practice in this court. I represent

 Defendant Christian Exoo in the above referenced action.

       2.     I have personal knowledge of the matters stated herein and, if called

 upon I could and would competently testify thereto.

       3.     I submit this declaration regarding the attached exhibits.

       4.     Attached as Exhibit A is a true and correct copy of a signed

 declaration of Defendant Christian Exoo dated April 16, 2021 demonstrating he

 has no jurisdictional ties to the State of New Jersey.

       5.     Attached as Exhibit B-I through B-XI are true and correct copies of

 the Twitter.com tweets from Defendant Exoo referenced in the Complaint. Exhibit

 B-I through B-XI are incorporated into the Complaint by reference. See First

 Amended and Supplemented Complaint at ¶¶ 1-15, 27, 31-37, 39-45, 48, 49, 51,

 53, 58, 61, 72, 76-81, 84-87, 90-93, 96-99, 104-106, 108-110, 114-116, 118, 120,

 121, 123, 124, 128, 133, 134, 138, 140, 141, 151-153, 157-159, 162-165, 168-170,

 173-175, 187, 188, 192-195, 197-206, 211-215, 219-225, 233, 235-237.

              B-I - Exoo-Schwetz Tweets
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              B-II - Exoo-D’Ambly Tweets
              B-III - Exoo-Scott Tweets
              B-IV - Exoo-Wolkind Tweets
              B-V - Exoo-Rehl Tweets
              B-VI - Exoo-Hartley Tweets
              B-VII - Exoo- Tucci Tweets
              B-VIII - Exoo-Reidinger Tweets
              B-IX -Exoo-Barbosa Tweets
              B-X - Exoo-Hugo Tweets
              B-XI - Exoo-LoudenTweets

       6.     Attached as Exhibit C is a true and correct copy of the 2019 Terrorism

 Threat Assessment Report of the New Jersey Office of Home Security and

 Preparedness. The government report is publicly available and may be found at the

 following internet website:

 https://www.njhomelandsecurity.gov/s/ThreatAssessment-Booklet-2019_Final.pdf.

 This government report is judicially noticeable pursuant to Fellner v. Tri-Union

 Seafoods, L.L.C., Civil Action No. 06-CV-0688 (DMC), 2010 U.S. Dist. LEXIS

 36195, at *19 n.8 (D.N.J. Apr. 13, 2010) (taking judicial notice of publicly

 available governmental reports). See also In re Wellbutrin SR/Zyban Antitrust

 Litigation, 281 F. Supp.2d 751, 754 (E.D.Pa. 2003) (taking judicial notice of FDA

 report posted on the official FDA website).

       7.     Attached as Exhibit D is a true and correct copy of the 2020 Terrorism

 Threat Assessment Report of the New Jersey Office of Home Security and

 Preparedness. This government report is publicly available and may be found at the

 following internet website: https://www.njhomelandsecurity.gov/s/2020-
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 Terrorism-Threat-Assessment.pdf. This government report is judicially noticeable

 pursuant to Fellner v. Tri-Union Seafoods, L.L.C., Civil Action No. 06-CV-0688

 (DMC), 2010 U.S. Dist. LEXIS 36195, at *19 n.8 (D.N.J. Apr. 13, 2010). See also

 In re Wellbutrin SR/Zyban Antitrust Litigation, 281 F. Supp.2d 751, 754 (E.D.Pa.

 2003).

       8.    Attached as Exhibit E is a true and correct copy of the indictment

 against Plaintiff Zachary Rehl from U.S. v. Zachary Rehl, 1:21-cr-00175 (D.D.C.

 March 10, 2021). Official documents in a federal court proceeding are judicially

 noticeable under F.R.E. 201.

       9.    Attached as Exhibit F-I and F-II are true and correct copies of social

 media linked by Exoo Tweets from Exhibit B-III. Exhibit F-I contains tweets by

 Twitter User WANaziWatch. Exhibit F-II is an article by Puget Sound Anarchists,

 Community Alert: Neo-Nazi Proud Boy Sean-David Michael Scott Exposed,

 September 16, 2019 available at https://pugetsoundanarchists.org/community-alert-

 neo-nazi-proud-boy-sean-michael-david-scott-exposed/ (last accessed 4/21/21).

 See First Amended and Supplemented Complaint at ¶¶ 12, 128.

       10.   Attached as Exhibit G-I and G-II are true and correct copies of the

 information and complaint affidavit from the matter of U.S. v. Mark Sahady, 1:21-

 mj-00108 (D.D.C. January 18, 2021). Official documents in a federal court

 proceeding are judicially noticeable under F.R.E. 201.
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       11.      Annexed as Exhibit H is the United Stated District Court for the

 District of New Jersey. [Model] RICO Case Order, Exhibit O to the District

 Court’s Local Rules.

       12.      Annexed as Exhibit I is a [PROPOSED] Order granting the instant

 motion.



       I declare under penalty of perjury under the laws of the District of New

 Jersey and the laws of State of New Jersey that the facts set forth above are true

 and correct.



 Executed this 22nd day of April 2021, at Springfield, New Jersey.




                                         ________________________
                                         Richard Torres
